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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


HUTCHINSON SEALING                        Case No.
SYSTEMS, INC.                             Hon.
         Plaintiff,
v.
ADVANCED CONTROL
SOLUTIONS & AUTOMATION,
INC.
         Defendant.




                      INDEX OF EXHIBITS TO COMPLAINT
     Exhibit Document
     A         Terms and Conditions

     B         Purchase Order P097845 dated September 16, 2020
     C         Safety Notice
